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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  OBJECTIONS TO SPECIAL MASTER
                                              RULINGS ON APPLE INC.’S
                  Defendant, Counterclaimant. PRODUCTIONS OF RE-REVIEWED
                                              PRIVILEGE DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

        Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Objections to
certain of the Special Masters’ rulings on Apple’s fourth production of re-reviewed and privileged
documents produced on January 14, 2025. We are submitting these documents for in-camera
review contemporaneously with this filing.

       Apple’s objections relate only to documents Apple believes are not already covered by
Your Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this
post-judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to
documents affected by those rulings, including any post-judgment appellate rights.
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Entry Nos. 1808, 1809, and 1815 on the January 14, 2025 Privilege Log
Entry Nos. 1808 (PRIV-APL-EG_00142704) and 1809 (PRIV-APL-EG_00142710) are draft
documents attached to a parent email (PRIV-APL-EG_00142702). Entry No. 1808 is a document
drafted by attorneys titled “External Link Account Entitlement Addendum for Reader Apps.” This
is a draft addendum to the Developer Program License Agreement—the contract that all iOS
developers enter into with Apple. Entry No. 1809 is a draft version of the developer support page
associated with the reader app entitlement program. The parent document (PRIV-APL-
EG_00142702) is an email from Ling Lew to a number of Apple employees describing changes
that were made to the attached draft documents. Lew notes that the specific changes made to the
document are highlighted in the attachment (PRIV-APL-EG_00142710).
Special Master Walsh deemed the email properly redacted for privilege, because it contains legal
advice from in-house counsel. The legal advice conveyed in this email is directly reflected in both
Entry Nos. 1808 and 1809, and in the case of Entry No. 1809, the changes implemented by Lew
are highlighted for the reviewer’s attention. “Drafting legal documents is a core activity of
lawyers, and obtaining information and feedback from clients is a necessary part of the process.”
Diversey U.S. Holdings, Inc. v. Sara Lee Corp., 1994 WL 71462, at *1 (N.D. Ill. Mar. 3, 1994);
see also Se. Pa. Transp. Auth. v. Carmarkpcs Health, L.P., 254 F.R.D. 253, 258 (E.D. Pa. 2008)
(“Preliminary drafts of contracts are generally protected by attorney/client privilege, since they
reflect not only client confidences, but also legal advice and opinions of attorneys, all of which is
protected by the attorney/client privilege.” (cleaned up)); Barnes-Wallace v. City of San Diego,
2002 WL 35646619, at *4 (S.D. Cal. Dec. 5, 2002) (“As a general rule, preliminary drafts of
documents are protected by the attorney-client privilege.”). As both of these documents are
working drafts containing legal advice that are being sent to a client for consideration, they both
constitute privileged attorney-client communications and should be withheld.
Entry No. 1815 (PRIV-APL-EG_00142725) is another version of Entry No. 1808, drafted by
attorneys and entitled “External Link Account Entitlement Addendum for Reader Apps.” This
draft contract was attached to an email, Entry No. 1814 (PRIV-APL-EG_00142722), from Ling
Lew to a number of Apple employees in which she describes a number of changes made to Entry
No. 1815, the entitlement addendum, and related support page (PRIV-APL-EG_00142724).
Special Master Walsh similarly deemed this email properly redacted for privilege because it
contains legal advice from in-house counsel. The legal advice conveyed in this email is directly
reflected in Entry No. 1815. As noted above, drafts of contracts generally are protected by the
privilege. See Se. Pa. Transp. Auth., 254 F.R.D. at 258; Barnes-Wallace, 2002 WL 35646619, at
*4. As this document is a working draft containing legal advice that is being sent to a client for
consideration, it constitutes a privileged attorney-client communication and should be withheld.




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Entry Nos. 1973, 1974, 1975 and 1976 on the January 14, 2025 Privilege Log
Entry Nos. 1973 (PRIV-APL-EG_00144536), 1974 (PRIV-APL-EG_00144537), 1975 (PRIV-
APL-EG_00144538), and 1976 (PRIV-APL-EG_00144539) are screenshots reflecting changes
made to two draft documents, one titled “StoreKit External Entitlements” and the other titled
“StoreKit External Purchase Entitlement for apps in South Korea,” which are prompts for
developers to review and accept the terms of certain developer agreements. All four images are
attached to an email (PRIV-APL-EG_00144533) from a non-lawyer to Sean Cameron (in-house
counsel) for his review and approval. Earlier emails in the thread indicate that Ling Lew (in-house
counsel) reviewed and signed-off on the full versions of the draft documents, and urged the team
to have Mr. Cameron weigh in before moving forward. This email thread indicates that Entry Nos.
1973, 1974, 1975, and 1976 were sent to one of Apple’s in-house counsel explicitly for his review
and feedback. As such, the images constitute information provided to counsel for the purpose of
obtaining legal advice and should be withheld as privileged attorney-client communications. See
In re Grand Jury Investigation, 974 F.2d 1068, 1070 (9th Cir. 1992) (“The attorney-client privilege
protects confidential disclosures made by a client to an attorney in order to obtain legal
advice . . . .” (cleaned up)); In re Premera Blue Cross Customer Data Sec. Breach Litig., 329
F.R.D. 656, 662 (D. Or. 2019) (“A draft prepared at the request of counsel or otherwise prepared
by [a non-lawyer] and sent to counsel for review and legal advice is subject to the attorney-client
privilege.”).




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DATED: January 31, 2025                 WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




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